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6                         UNITED STATES DISTRICT COURT
7                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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9    DELTA SMELT CONSOLIDATED CASES        1:09-CV-00407 OWW DLB
10   FAMILY FARM ALLIANCE,                 1:09-CV-01201 OWW DLB
11                       Plaintiff,        ORDER TO SHOW CAUSE RE
12                                         CONSOLIDATION
                    v.
13
     KENNETH LEE SALAZAR
14
                         Defendant.
15

16        In the course of reviewing the pending motion to compel in
17   Family Farm Alliance v. Salazar, 1:09-cv-01201 OWW DLB, set for
18
     hearing on December 14, 2009, it is apparent that most of the
19
     claims in Family Farm Alliance, brought under the Information
20
     Quality Act (“IQA”) and the Endangered Species Act (“ESA”),
21
     substantially overlap with claims challenging the 2008 Biological
22

23   Opinion (“BiOp”) in the Delta Smelt Consolidated Cases.             The

24   first claim for relief in Family Farm Alliance alleges:

25              The 2008 Biological Opinion failed to use the “best
                available scientific and commercial data available’ as
26              required by the IQA, IQA Guidelines and Section 7 of
27              the ESA in at least the following ways: By failing to
                conduct an objective analysis and premising the
28              findings on assumptions; excluding and dismissing
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1               other, data supported analyses of the decline of the
                delta smelt, the results of which indicate that major
2               adverse effects on the population dynamics of delta
                smelt are caused by factors other than the operations
3
                of the CVP and SWP; arbitrarily selecting the data
4               relied upon and disregarding relevant data without
                explanation, including analyses and comments provided
5               by a peer review panel; basing the analyses on data
                that was incorrect, incomplete, or otherwise of poor
6               quality, including analyses that were not statistically
                defensible, that suffered from invalid assumptions,
7               improper transformation of data, and/or which may have
8               relied upon selective or improper use or manipulation
                of data points; failing to disclose all the data,
9               analyses, or reports relied upon, and relying on key
                reports, data, and analyses that were and continue to
10              be unavailable for review; and failing to critically
                analyze and assess the quality (e.g., accuracy,
11              objectivity, reproducibility, and robustness) of the
12              data and reports relied upon in the 2008 Biological
                Opinion.
13
     Family Farm Alliance, 1:09-cv-1201 OWW DLB, Complaint (“FFAC”),
14
     Doc. 1 at ¶44.
15
          The first cause of action in San Luis & Delta-Mendota Water
16

17   Authority et al. v. Salazar et al., 1:09-cv-407 OWW DLB, alleges:

18              .... In fulfilling [the] requirements [of the ESA],
                Section 7 mandates that “each agency shall use the best
19              scientific and commercial data available.” 16 U.S.C. §
                1536(a)(2). Section 7’s mandate to use the “best
20
                scientific and commercial data available” applies to
21              FWS Defendants’ preparation and issuance of the 2008
                Biological Opinion.
22
     San Luis First Amended Complaint (“SLFAC”), Doc. 292, at ¶53.
23
     The SLFAC refers to various information quality standards,
24

25   including those promulgated under the IQA, to define the best

26   available science standard.      See id. ¶¶ 54-69; see also id. ¶¶
27   70-72 (similar allegations regarding FWS’s Scientific Code of
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1    Cnduct).   The SLFAC’s substantive allegations also overlap with
2    those in the FFAC:
3
                73. FWS Defendants promulgated the 2008 Biological
4               Opinion in a manner that is arbitrary, capricious and
                not in accordance with law, in excess of their
5               statutory jurisdiction and authority, and in violation
                of the APA, because FWS Defendants failed to base their
6               decisions on the best scientific and commercial data
                available, and failed to follow the applicable FWS
7               Information Standards Policy, DOI Information Quality
8               Guidelines, FWS Information Quality Guidelines, and FWS
                Scientific Code of Conduct.
9
                74. The FWS Defendants failed to comply with the
10              foregoing standards in the 2008 Biological Opinion. The
                2008 Biological Opinion, including but not limited to
11              the effects analysis, jeopardy and adverse modification
12              determinations, reasonable and prudent measures, and
                incidental take statement, violated Section 7’s “best
13              scientific and commercial data available” mandate and
                the policies and guidelines interpreting this mandate
14              in at least the following ways:
15                    (a) FWS Defendants did not conduct an objective
                      analysis but instead displayed a pervasive bias
16
                      against the CVP and SWP, which caused Defendants
17                    to exclude and dismiss credible analyses whose
                      results indicate that major adverse effects on the
18                    population dynamics of delta smelt are caused by
                      factors other than the operations of the CVP and
19                    SWP, and involve relationships and factors other
                      than those highlighted in the 2008 Biological
20
                      Opinion;
21
                      (b) FWS Defendants arbitrarily selected the data
22                    they did rely upon and disregarded relevant data
                      without explanation, including analyses and
23                    comments provided by a peer review panel and by
                      the Authority and State Water Contractors
24                    submitted to FWS Defendants before promulgation of
25                    the final 2008 Biological Opinion;

26                    (c) FWS Defendants based their analyses on data
                      that was incorrect, incomplete, or otherwise of
27                    poor quality, including analyses that were not
                      statistically significant and that suffered from
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1                     invalid assumptions, improper transformation of
                      data, and improper exclusion of valid data points;
2
                      (d) FWS Defendants reached conclusions that are
3
                      internally inconsistent, including relying upon
4                     particular reports and analyses as sufficient to
                      support certain conclusions and assumptions in the
5                     2008 Biological Opinion, but ignoring or
                      discounting other findings in those same reports
6                     and analyses that refute or cast doubt upon the
                      conclusions and assumptions the FWS Defendants
7
                      relied upon in the 2008 Biological Opinion;
8
                      (e) FWS Defendants failed to disclose all the
9                     data, analyses, or reports that they relied upon,
                      and relied on key reports and analyses that were
10                    and are unavailable for review;
11                    (f) FWS Defendants failed to critically analyze
12                    and assess the quality (e.g., accuracy,
                      objectivity, reproducibility, and robustness) of
13                    the data and reports they relied upon;

14                    (g) FWS Defendants relied on speculative and
                      conclusory determinations without providing any
15                    foundation linking such determinations to actual
                      data or analyses;
16

17                    (h) FWS Defendants failed to properly identify and
                      discuss the numerous assumptions upon which they
18                    based their calculations and determinations, and
                      failed to consider or discuss alternative
19                    assumptions that are equally valid and
                      supportable;
20

21                    (i) FWS Defendants failed to identify and discuss
                      the risk to the quality and accuracy of the 2008
22                    Biological Opinion as a result of their use of one
                      or more unsubstantiated assumptions to reach
23                    certain conclusions or make certain calculations;
24                    (j) FWS Defendants failed to discuss and address
25                    numerous research results and data that conflict
                      with and cast doubt upon the assumptions made, the
26                    reports relied upon, and the ultimate
                      determinations made in the 2008 Biological Opinion
27                    regarding the major driving factors in delta smelt
                      population dynamics;
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1
                       (k) FWS Defendants failed to disclose numerous
2                      research results and data known to them indicating
                       that other factors, not the operations of the CVP
3
                       and SWP, are the major causes of population-level
4                      effects to delta smelt;

5                      (l) FWS Defendants improperly relied upon loose
                       correlations between certain factors and delta
6                      smelt population abundance while at the same time
                       ignoring much stronger linear and multiple-factor
7                      correlations between other factors and delta smelt
8                      population abundance; and

9                      (m) FWS Defendants ignored or failed to respond to
                       comments critiquing and questioning the analyses,
10                     conclusions, and recommendations in the 2008
                       Biological Opinion.
11

12   SLFAC ¶¶ 73-74.

13        Family Farm Alliance requests remedial relief:

14              [1] [A] judicial declaration that the 2008 Biological
                Opinion is arbitrary, capricious, an abuse of
15              discretion, or otherwise not in accordance with law;
                that the best available scientific data standard and
16
                adherence to the mandates of the IQA and ESA require
17              withdrawal of the 2008 Biological Opinion from the
                public domain and remand to the Defendants for the
18              preparation and issuance of a new biological opinion in
                a manner based upon the best available scientific data,
19              consistent with the statutory and regulatory
                requirements of the ESA and the IQA and its
20
                implementing Guidelines and Final Bulletin....
21
                2. [T]emporary, preliminary and permanent injunctive
22              relief directing the Defendants to continue the
                operations of the CVP and SWP consistent with the
23              Court’s findings and determinations,
                including relief from the pumping restrictions and
24              other aspects of the reasonable and prudent
25              alternatives in the 2008 Biological Opinion, pending
                the issuance of a corrected biological opinion;
26
     Family Farm Alliance Prayer for Relief, Doc. 1 at 18.           Likewise,
27
     the SLFAC requests:
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1               [1] [A] judicial declaration that the 2008 Biological
                Opinion, and the acceptance and implementation thereof,
2               is arbitrary, capricious, and abuse of discretion, not
                in accordance with law, and is in excess of statutory
3
                jurisdiction, authority or limitations;
4
                2. [A]n order remanding the 2008 Biological Opinion to
5               the FWS Defendants without vacatur so that the FWS
                Defendants may reconsider it based on the Court’s
6               findings and rulings, and for preparation of a new
                biological opinion in a manner consistent with the ESA,
7               NEPA, and other requirements of law;
8
                3. [T]emporary, preliminary and permanent injunctive
9               relief directed to the FWS Defendants and Reclamation
                Defendants to continue CVP operations consistent with
10              the Court’s findings and rulings, including relief from
                the pumping restrictions and other aspects of the
11              reasonable and prudent alternative in the 2008
12              Biological Opinion, pending completion of a new
                consultation and biological opinion;
13
     SLFAC Prayer for Relief, Doc. 292 at 40.
14
          Family Farm Alliance does raise one unique issue, namely,
15
     the Federal Defendants’ alleged failure to respond to Plaintiff’s
16

17   IQA appeal within the requisite 60-day window.          In all other

18   respects, however, the factual and legal issues raised by Family
19   Farm Alliance are substantially equivalent to the best available
20
     science claims advanced in the other Delta Smelt Consolidated
21
     Cases, raising the prospect that separate adjudication may not
22
     serve the interests of judicial economy and efficiency and may
23
     produce inconsistent judgments.
24

25        The parties shall show cause in writing on or before

26   December 18, 2009, why Family Farm Alliance should not be

27   consolidated for some or all purposes with the Delta Smelt
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1    Consolidated Cases.     Any responses shall be filed by December 29,
2    2009.   A telephonic hearing will be held on January 11, 2010 at
3
     11:15 a.m. in Courtroom 3.
4

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     SO ORDERED
6    Dated: December 3, 2009
                                                 /s/ Oliver W. Wanger
7
                                                   Oliver W. Wanger
8                                             United States District Judge

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